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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
H. CRISTINA CHEN-OSTER, SHANNA                                 :
ORLICH, ALLISON GAMBA, and MARY DE :                                 10-cv-6950 (AT) (RWL)
LUIS,                                                          :
                                                               :
                                                               :     ORDER
                                    Plaintiffs,                :
                                                               :
                  - against -                                  :
                                                               :
GOLDMAN, SACHS & CO. and THE                                   :
GOLDMAN SACHS GROUP, INC.,                                     :
                                                               :                2/18/2022
                                    Defendants.                :
---------------------------------------------------------------X
ROBERT W. LEHRBURGER, United States Magistrate Judge.

         This order resolves the notice issue raised at Dkt. 1328 and subsequent

correspondence with the Court. Class counsel may proceed with issuing the proposed

email notice to Equity Award Agreement Members, subject to modification of the message

as follows. The third sentence beginning "Specifically," should read: "Specifically, the

notice provided an opportunity to reject arbitration (and remain a class member instead)

or accept arbitration (and be removed from the case so that you can proceed individually

by arbitration)."

Dated:           February 18, 2022
                 New York, New York


                                                     SO ORDERED.



                                                     _________________________________
                                                     ROBERT W. LEHRBURGER
                                                     UNITED STATES MAGISTRATE JUDGE
                                                       1
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Copies transmitted to all counsel of record.




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